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                                                                             Execution Version


                              FORBEARANCE AGREEMENT


of July 19, 2022, among (a) RAWHIDE MINING LLC, a Delaware limited liability company
                                                                 ime party thereto (such Rawhide
Subsidiaries, collectively, and together with
ACQUISITION HOLDINGS LLC, a De
together with Borrower, individually and in their respective capacities under the Loan Documents

SILVERVIEW CREDIT OPPORTUNITI                                        and CEOF HOLDINGS LP

(d) SILVERVIEW CREDIT PARTNE                                          Loan Agreement (together
with its successors and assigns, in such capacit                           Agent, together with
                                                                    Parties, together with CEOF,
                                                                 nd the Lender Parties, together
with the Rawhide Entities, collectivel

                                          RECITALS

                A.     WHEREAS, the Borrowers, the Parent, the Lenders, and the Agent entered
into that certain Loan and Security Agreement, dated as of January 3, 2019, pursuant to which the
Lenders agreed to provide certain extensions of credit, loans and other financial accommodations
to the Borrowers (as amended, restated, supplemented or otherwise modified from time to time,


               B.     WHEREAS, pursuant to the Loan Agreement, the Lenders made a secured
term loan to the Borrowers in the original principal amount of
and

               C.     WHEREAS, the Specified Defaults (as defined below) currently exist under
the terms of the Loan Documents; and

              D.     WHEREAS, the Agent delivered to the Borrower that certain letter
captioned Reservation of Rights, dated as of Ma
and

               E.     WHEREAS, the Agent delivered to the Borrower that certain notice of
acceleration dated as of March
Agent notified the Borrower that all of the Secured Obligations are immediately due and payable
(including, from and after March 15, 2022, default interest pursuant to section 21.3 of the Loan
Agreement) and demanded immediate payment in the amount of $15,813.577.68; and

              F.    WHEREAS, the Rawhide Entities have requested that the Agent and
Lenders forbear from exercising their default-related rights and remedies under the Loan
Documents, and the Agent and Lenders are willing to do so under the terms and conditions set
forth herein;
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        NOW, THEREFORE, in consideration of the promises herein contained, and other good
and valuable consideration, the receipt and sufficiency of which is hereby acknowledged by the
parties hereto, the parties hereto hereby agree as follows:

              1.     Definitions. Capitalized terms used in this Forbearance Agreement and not
       otherwise defined herein shall have the meanings ascribed to such terms in the Loan
       Agreement.

               2.     Incorporation of Recitals. The recitals set forth above constitute an
       integral part of this Forbearance Agreement, evidencing the intent of the parties in
       executing this Forbearance Agreement, and describing the circumstances surrounding its
       execution. Accordingly, said recitals are, by express reference, made a part of the
       covenants hereof, and this Forbearance Agreement shall be construed in light thereof.

                3.     Acknowledgement of Obligations.              The Rawhide Entities hereby
       acknowledge and agree that: (a) the Borrowers are indebted to the Agent and Lenders under
       the Term Loan in the amount of $16,624,152.95 as of June 30, 2022, together with interest,
       fees (including, without limitation,
       charges now or hereafter payable by the Borrowers to the Agent and Lenders, without
       offset, recoupment, defense or counterclaim of any kind, nature or description whatsoever
             Outstanding Amount ; (b) the Agent and Lenders have a valid and perfected senior
       lien on, and security interest in, the Collateral; (c) the Loan Documents are each valid and
       enforceable in accordance with their respective terms by the Agent and Lenders against the
       Borrowers without recoupment, offset, defense or counterclaim of any kind, nature or
       description whatsoever; and (d) default interest is due and payable from and after March
       15, 2022 and continues to accrue, including, without limitation, during the Forbearance
       Period (as defined below), notwithstanding anything to the contrary herein; provided,
       however, that the                       right to challenge the calculation of the interest, fees
                                                                       ), costs, expenses and other
       charges due for the period of time following July 1, 2022 is fully reserved.

                4.     Acknowledgment of Events of Default. The Rawhide Entities hereby
       acknowledge and agree that (i) Events of Default under the Loan Documents have occurred
       and are continuing in respect of the failure of the Borrowers to make the cash payment of
       interest and principal due on March 15, 2022, the Borrowers failure to pay the full amount
       of the Secured Obligations following acceleration of the Term Loan, and
       failure to comply with the financial covenants set forth in section 7.1 of the Loan
       Agreement for periods prior to this Forbearance Agreement (                       Specified
       Defaults (ii) the Specified Defaults are not subject to cure, and each entitles the Agent
       and Lenders to immediately exercise their rights and remedies under the Loan Documents;
       (iii) the Agent and Lenders have not waived, presently does not intend to waive, and may
       never waive, the Specified Defaults; and (iv) except as set forth herein, neither the terms
       of this Forbearance Agreement, nor the transactions contemplated hereby, shall be deemed
       to constitute any such waiver.




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       5.      Forbearance.

                (a)     Forbearance. In reliance upon the representations, warranties and
covenants of the Rawhide Entities contained in this Forbearance Agreement, and subject
to the terms and the conditions of this Forbearance Agreement, the Agent and Lenders
agree to forbear from exercising their default-related rights and remedies under the Loan
Documents solely in respect of the Specified Defaults                            Forbearance
Period                   on the date hereof and ending on the earliest to occur of: (i) 11:59
p.m. eastern time on September 30, 2022               Outside Forbearance Expiration Date
provided, however, the Outside Forbearance Expiration Date shall be extended to 11:59
p.m. eastern time on December 31, 2022 if, on or before September 30, 2022, the Rawhide
Entities receive a letter of intent that contemplates a closing within 90 days of the date of
such letter of intent, and either (a) provides for the payment in full of the Secured
Obligations in cash at closing or (b) is on terms otherwise acceptable to the Lenders (the
  Acceptable LOI ; (ii) the occurrence or existence of any breach of any representation,
warranty, covenant or other agreement by the Rawhide Entities contained in this
Forbearance Agreement without regard to any cure or grace period that may otherwise be
applicable to such breach under the Loan Agreement (and notwithstanding anything to the
contrary in the Loan Agreement); (iii) the occurrence of any Forbearance Event of Default
(as defined below); or (iv) the occurrence or existence of any Default or Event of Default
under the Loan Documents, other than any of the Specified Defaults. Strict performance
of the terms of this Forbearance Agreement is required. Substantial performance of the
terms of this Forbearance Agreement in good faith and without willful failure shall not be
deemed sufficient performance. Strict performance shall be deemed the essence of this
Forbearance Agreement and shall be deemed contracted for by the parties hereto. All
breaches of this Agreement and all Forbearance Events of Defaults shall constitute
additional immediate Events of Default under the Loan Agreement. Upon the expiration
or termination of the Forbearance Period, the agreement of the Agent and Lenders to
forbear shall automatically terminate and shall be of no force and effect, it being expressly
agreed that the effect of such termination will be to permit the Agent and Lenders to
immediately exercise any one or more of their default-related rights and remedies under
the Loan Documents, without (x) notice to the Borrowers, (y) the passage of time, or
(z) forbearance of any kind. Notwithstanding the foregoing, (i) each Loan Party shall
comply with all limitations, restrictions or prohibitions that would otherwise be effective
or applicable under the Loan Agreement or any of the other Loan Documents during the
continuance of any Event of Default (including any Specified Defaults), including, without
limitation, any limitations, restrictions or prohibitions against taking or permitting to exist
certain actions including incurring certain debt, making certain dispositions, making
certain investments, paying management, consulting or other similar fees, paying any earn-
outs in connection with, or making, Permitted Investments, Permitted Royalties or making
certain distributions or other Restricted Distributions or Restricted Transfers pursuant to
certain terms and conditions set forth in the Loan Documents (including sections 8.1-8.5
and 8.8 of the Loan Agreement).

              (b)    No Waivers; Reservation of Rights. The Agent and Lenders have
not waived, are not by this Forbearance Agreement waiving, and have no intention of
waiving, any Event of Default under one or more of the Loan Documents (including the


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Specified Defaults) which has occurred, or which may occur at any time on or after the
date hereof. Further, the Agent and Lenders have not agreed to forbear with respect to any
of their rights or remedies concerning any Default, Event of Default, or Forbearance Event
of Default other than the Specified Defaults. Except as expressly set forth in this
Forbearance Agreement, (i) the Agent and Lenders reserve the right, in their sole
discretion, to exercise any or all of their rights and remedies under the Loan Documents as
a result of any Default or Event of Default under any one or more of the Loan Documents,
other than the Specified Defaults solely during the Forbearance Period; (ii) the Agent and
Lenders have not waived any of such rights or remedies; and (iii) neither this Forbearance
Agreement, nor any delay by the Agent or Lenders in exercising any such rights or
remedies, shall be construed as a waiver by the Agent or Lenders of any such rights or
remedies.

        6.      Conditions of Effectiveness. This Forbearance Agreement shall become
effective at such time as all of the following conditions precedent have been satisfied as
determined by the Agent and each Lender                    Effective Date :

              (a)     This Forbearance Agreement shall have been executed by the
Borrowers, the Parent, the Lenders, and the Agent, and such fully executed Forbearance
Agreement shall have been delivered to the Agent;

                 (b)     The Limited Liability Company Agreement of Rawhide Acquisition
Holdings LLC shall have been amended in form and substance acceptable to the Agent in
its sole discretion, shall be substantially in the form attached hereto as Exhibit A, and shall
provide for the following:

                    (i)
       seven members;

                      (ii)   The addition of Jeff Stein as an independent member of the
                      (provided that Jeff Stein may be excluded from any board discussion
       involving the Loan Documents and the Secured Obligations);

                       (iii)   The   establishment of a committee                  Special
       Committee                             the purpose of which is to lead and direct the
       process by which the Rawhide Entities, with the assistance and advice of Jett
                           Jett or another investment banking firm acceptable to Agent
       and Lenders (Jett or such other acceptable investment banking firm, the
        Investment Banker
       assets for sale, and shall, negotiate, document and consummate a sale of all or
                                                                       Strategic Process ,
       which shall be made up of three individuals: Jeff Stein, Mike Winn, and Marceau
       Schlumberger; provided that the Special Committee shall not have the authority to
       approve any sale;

                      (iv)                          may not approve any sale or suspend or
       cancel the Strategic Process without              prior written approval; and



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                      (v)      Jeff Stein shall be involved in any and all aspects of the
       Strategic Process, including any and all substantive discussions and correspondence
       with the Investment Banker.

        7.     Rawhide           Covenants. To induce the Agent and Lenders to enter
into this Agreement, the Rawhide Entities hereby covenant and agree with the Agent and
Lenders as follows:

                (a)     On a monthly basis, beginning on the tenth business day of the first
month following the Effective Date, and on a continuing basis no later than the twentieth
business day of each following month, the Rawhide Entities shall provide the Agent with
a reconciliation of monthly actual expenses versus monthly budgeted expenses. Such
reconciliation shall be in form and substance satisfactory to the Agent and each Lender in
their respective sole discretion.

                 (b)    On a bi-weekly basis, beginning on the first Monday following the
Effective Date, and on a continuing basis no later than the Monday of each following week,
the Rawhide Entities shall provide the following information to the Agent: (i) the prior
                                                                      of gold production and
cash payments and receipts; (iii) a rolling four week cash flow forecast to be approved, in
writing, in advance, by the Agent and each Lender             Four Week Budget (iv) a
detailed accounting by vendor of any expenditures from the Working Capital Funding; (v)
all site operational management reports made in the ordinary course of business; and (vi)
a written account of the status of any and all correspondence, discussion, or negotiations
with respect to any financing opportunities, or prospective purchasers or investors in
connection with the Strategic Process (as defined below) including, but not limited to: (a)
a list of entities contacted; (b) any response from those entities; (c) a list of entities that
have executed non-disclosure agreements; (d) a list of entities that received a Sale Book
and have access to the Data Room (as such terms are defined below); and (e) copies of all
documents related to the Strategic Process provided by any Loan Party or Investment
Banker to any Person. Such reporting shall be in form and substance satisfactory to the
Agent and each Lender in their respective sole discretion.

               (c)    Without limiting any other provisions of the Loan Agreement or this
Forbearance Agreement, the Rawhide Entities shall not make any payments or distributions
of any kind to owners of equity in any of the Rawhide Entities or any creditors of any of
the Rawhide Entities unless such payments are (i) consented to in writing by the Agent; or
(ii) in respect of payments to creditors made in the ordinary course of business in
accordance with the Four Week Budget then in effect. For the avoidance of doubt, in the
event that a Four Week Budget is not approved by the Agent and each Lender, the prior
Four Week Budget shall continue in full force and effect for the purposes of this section 7
(c).

                  (d)     The Rawhide Entities shall promptly, and in any event no later than
24 hours following receipt, deliver to the Agent any and all offers, term sheets, indications
of interest, letters of intent, other proposals and any definitive purchase documentation they



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receive, in each case in connection with the Strategic Process or any other sale, financing
or other transaction involving the Loan Parties or their assets and/or businesses.

                (e)      The Rawhide Entities shall fully cooperate with the Investment
Banker in connection with (i) a review of the operations and finances of the Rawhide
Entities and (ii) the Strategic Process.

               (f)    On a weekly basis, beginning on the first Wednesday following the
Effective Date, and on a continuing basis no later than the Wednesday of each following
week, the Rawhide Entities shall cause the Investment Banker to host weekly calls or
meetings with the Agent and the Lenders (and their counsel) in order to update the Agent
and Lenders on the status of the Strategic Process.

                (g)     The Rawhide Entities shall, and shall cause Investment Banker to,
(A) consult with the Agent and the Lenders and their independent consultant (Nicholas
Sarro-Waite) regarding the Strategic Process at times and with detail requested by the
Agent or any Lender (including, without limitation, communications outside the presence
of any representatives of any Loan Party or any affiliate thereof); and (B) disclose fully
and promptly to the Agent, Lenders and their respective advisors all material developments
in with respect to the Strategic Process.

              (h)     Rawhide shall at all times maintain at least $100,000 of unrestricted
cash on hand and shall certify, in writing, that such an amount of unrestricted cash remains
on hand on a weekly basis.

               (i)     The Rawhide Entities shall comply with all covenants including
reporting obligations set forth in the Loan Documents.

                (j)    Notwithstanding the foregoing, nothing in this Forbearance
Agreement constitutes or shall be deemed to constitute any consent by any Lender Party
to any sale or any waiver of any of the rights and remedies of any Lender Party with
respect thereto.

        8.      Representations and Warranties. To induce the Agent and Lenders to
enter into this Agreement, the Rawhide Entities hereby represent and warrant to the Agent
and Lenders that:

                (a)      Organization. Each Rawhide Entity is a limited liability company
duly organized, existing and in good standing under the laws of the State of Delaware with
full and adequate corporate power to carry on and conduct its business as presently
conducted. Each Borrower is duly licensed or qualified in all foreign jurisdictions wherein
the nature of its activities requires such qualification or licensing.

                (b)    Authorization; Due Execution. The Rawhide Entities are duly
authorized to execute and deliver this Forbearance Agreement and to perform their
respective obligations hereunder. Each of the Rawhide Entities has duly executed and
delivered this Forbearance Agreement and each other Loan Document to which they are a
party.


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               (c)    Validity and Binding Effect. This Forbearance Agreement and the
Loan Documents are legal, valid and binding obligations of each Rawhide Entity,
enforceable against each such Rawhide Entity in accordance with its terms, except as
enforceability may be limited by bankruptcy, insolvency or other similar laws of general

limiting the availability of equitable remedies.

               (d)     No Consents or Approvals. No consent, approval, authorization or
order of, or filing, registration or qualification with, any Governmental Authority is
required in connection with the execution, delivery or performance by such Rawhide Entity
of this Forbearance Agreement (other than such as has been met or obtained and are in full
force and effect).

                (e)    Confirmation of Representations in Loan Agreement. Except for
Section 5.20 of the Loan Agreement, each of the representations and warranties set forth
in Article 5 of the Loan Agreement is true and correct, in all respects, as though made on
and as of the Effective Date.

              (f)     No Other Defaults. No Default or Event of Default, other than the
Specified Defaults, has occurred as of the Effective Date.

          9.   Events of Default. The occurrence of any one or more of the following
                              Forbearance Event of Default               Forbearance
Agreement:

               (a)     Any Rawhide Entity fails to perform any covenant set forth in
section 7 hereof.

               (b)    Any reporting delivered by the Rawhide Entities shall contain a
material misstatement of any of the information set forth therein.

               (c)     Any representation or warranty set forth in section 8 hereof is
untrue.

               (d)    The occurrence of any Default or Event of Default, other than: (i)
the Specified Events of Defaults; or (ii) any Default or Event of Default relating to section
7.1(c) of the Loan Agreement for the period measured as of September 30, 2022.

              (e)    The failure of the Strategic Process to produce one or more
prospective bidders for an acceptable transaction, as reasonably determined by the
Investment Banker and Jeff Stein, by September 9, 2022.

               (f)     A sale consistent with the Acceptable LOI fails to close within 90
days of the date of such Acceptable LOI.

              (g)    The termination or resignation of Jett, provided, however, that such
termination or resignation shall not constitute a Forbearance Event of Default if a



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replacement investment banker, acceptable to the Agent in its sole discretion, is engaged
within ten days of the effective date of such termination or resignation.

                  (h)
or the Special Committee and subsequent failure of Parent to appoint an independent
director replacement, acceptable to the Agent, to the Board and Special Committee within
the later of (i) ten days of the effective date of such termination or resignation and (ii) seven


         10.     Release. The Rawhide Entities hereby release, acquit, and forever
discharge the Agent and Lenders and each and every past and present subsidiary, affiliate,
officer, director, agent, servant, employee, representative, and attorney of the Agent and
Lenders, from any and all claims, causes of action, suits, debts, liens, obligations, liabilities,
                                                                          ny kind, character, or
nature whatsoever, known or unknown, fixed or contingent, which any of the Rawhide
Entities may now have or claim to have now or which may hereafter arise out of or be
connected with (a) any act of commission or omission of the Agent or Lenders existing or
occurring prior to the date of this Forbearance Agreement or (b) any instrument executed
prior to the date of this Forbearance Agreement including, without limitation, any claims,
liabilities or obligations relating to the Loan Documents.

        11.     No Claim/No Defaults. The Rawhide Entities each hereby expressly
acknowledge and agree that that it currently possesses no claim or defense against any
Lender Party nor any of their respective designees, affiliates, agents, employees, officers,
                                                                                      Lender
Related Parties                    Lender Related Party                    n with the Loan
Documents, including, but not limited to, set-off, estoppel, waiver, duress, impracticability,
mistake, ambiguity, cancellation of instruments, rescission or excuse of performance. The
Rawhide Entities each hereby expressly agree that they shall not assert (including, without
limitation, by bringing any action, lawsuit or proceeding) any claims (including, without
                                                        Lender Party or any of the Lender
Related Parties based on, arising out of or in connection with this Forbearance Agreement.
The Rawhide Entities each hereby acknowledge and agree that there are no defaults, events
of defaults or breaches by any Lender Party under any of the Loan Documents, which now
exist or, following notice and an opportunity to cure, will ripen into a default, event of
default or breach by any Lender Party under any of the Loan Documents.

        12.     Debtor/Creditor RelationshipǤ The relationship between the Rawhide
Entities and the Lender Parties is solely that of a debtor and creditor, each as further set
forth in the respective Loan Documents, and the Lender Parties do not have any fiduciary
or other special relationship with the Rawhide Entities, and no term or condition of this
Agreement or of the Loan Documents shall be construed so as to deem the relationship
between the Rawhide Entities, on one hand, and the Lender Parties, on the other hand, to
be other than that of Borrower or Parent (as applicable) and Lender and Agent, in each
case, as further set forth in the Loan Documents. The Parties acknowledge and agree that
the relationship between the Rawhide Entities and the Lender Parties arose entirely
pursuant to and in accordance with the Loan Documents.


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        13.    Notices. All notices required under this Forbearance Agreement shall be in
writing and shall be transmitted in the manner and to the addresses required by the Loan
Documents, or to such other addresses as the Agent, Lenders or the Rawhide Entities may
specify from time to time in writing.

        14.    Opportunity to Consult with Attorney. The Rawhide Entities hereby
confirm that they have each had the opportunity to consult with an attorney of their
choosing regarding the meaning, consequences and effect of this Forbearance Agreement,
and acknowledge that they understand the meaning, legal consequences and effect of this
Forbearance Agreement. The Rawhide Entities hereby confirm that they have entered into
this Forbearance Agreement voluntarily, with full knowledge of its significance and that
this Forbearance Agreement is in all respects complete and final.

       15.     Miscellaneous.

               (a)     The Borrowers hereby agree to pay all of the               Lenders
                                                                       and the independent
             fees and expenses, related to this Forbearance Agreement and any related
transactions upon the earlier of: (i) the termination of this Forbearance Agreement and (ii)
the closing of a sale consistent with an Acceptable LOI.

              (b)    The Borrowers shall
in accordance with the engagement letter between Parent and Jeff Stein, dated the date
hereof.

                (c)    This Forbearance Agreement may be executed in one or more
counterparts, each of which shall be deemed to be an original, but all of which shall together
constitute but one and the same document.

                (d)    This Forbearance Agreement shall be binding on the Rawhide
Entities and their respective representatives, successors and assigns, and shall inure to the
benefit of the Agent and Lenders and their successors and assigns.

               (e)    Section captions and headings used in this Forbearance Agreement
are for convenience only and are not part of, and shall not affect the construction of, this
Forbearance Agreement.

                (f)     This Forbearance Agreement is a contract made under and governed
by the laws of the State of New York, without regard to conflict of laws principles.
Whenever possible, each provision of this Forbearance Agreement shall be interpreted in
such a manner as to be effective and valid under applicable law, but if any provision of this
Forbearance Agreement shall be prohibited by, or be invalid under such law, such provision
shall be ineffective to the extent of such prohibition or invalidity, without invalidating the
remainder of such provision or the remaining provisions of this Forbearance Agreement.

            (g)     This Forbearance Agreement represents the complete agreement
among the parties regarding the subject matter hereof and supersedes any prior or



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contemporaneous agreements or understandings, oral or written regarding said subject
matter.

               (h)     This Forbearance Agreement shall be construed without regard to
any presumption or other rule requiring construction against the party that drafted, or
caused to be drafted, the Forbearance Agreement.

              (i)     All Parties acknowledge and agree that Agent shall, promptly
following receipt, distribute to each Lender any and all information and documents
received by Agent or its advisors from the Loan Parties or their advisors pursuant to this
Agreement and the other Loan Documents.

                (j)     The Borrowers and the other Loan Parties, as debtors, grantors,
pledgors, guarantors, assignors, or in other similar capacities in which such parties grant
liens or security interests in their properties or otherwise act as accommodation parties or
guarantors, as the case may be, under the Loan Documents, hereby ratify and reaffirm all
of their payment and performance obligations and obligations to indemnify, contingent or
otherwise, under each of such Loan Documents to which it is a party, and ratify and
reaffirm their grants of hypothecs, liens on or security interests in their properties pursuant
to such Loan Documents to which they are a party, respectively, as security for the
Obligations under or with respect to the Loan Agreement, and confirm and agree that such
liens and security interests hereafter secure all of the Secured Obligations, including,
without limitation, all additional Secured Obligations hereafter arising or incurred pursuant
to or in connection with this Agreement, the Loan Agreement or any other Loan Document.




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        IN WITNESS WHEREOF, this Agreement has been entered into as of the date first above
written.

 RAWHIDE ENTITIES:                            RAWHIDE MINING LLC, a Delaware
                                              limited liability company

                                              By:
                                              Its: Authorized Representative



                                              RAWHIDE ACQUISITION HOLDINGS,
                                              LLC, a Delaware limited liability company

                                              By:
                                              Its:   Authorized Representative




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        IN WITNESS WHEREOF, this Agreement has been entered into as of the date first above
written.



 LENDERS:                                     SILVERVIEW CREDIT OPPORTUNITIES
                                              AIV LP, a Delaware Limited Partnership

                                              By:
                                              Its: Authorized Signatory

                                              CEOF HOLDINGS LP, a Delaware Limited
                                                  nerrsshi
                                                  ne    hip
                                              Partnership

                                              By:
                                              Its:

 AGENT:                                       SILVERVIEW CREDIT PARTNERS LP, a
                                              Delaware Limited Partnership

                                              By:
                                              Its: Authorized Signatory




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